Case 4:21-cv-00857-SDJ Document 5 Filed 11/23/21 Page 1 of 9 PagelD #: 39

AO 399 (01/09) Waiver of the Service of Summons

UNITED STATES DISTRICT COURT
for the
Eastern District of Texas [=]

BURNETT
Plaintiff
Vv.
COLLIN COMMUNITY COLLEGE DISTRICT, et al.
Defendant

Civil Action No. 4:21-cv-00857

WAIVER OF THE SERVICE OF SUMMONS

To: Greg Greubel_ - _=ilts
(Name of the plaintiff's attorney or unrepresented plaintiff)

I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

I understand that I, or the entity | represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that | waive any objections to the absence of a summons or of service.

I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from 11/15/2021 , the date when this request was sent (or 90 days if it was sent outside the
United States). If 1 fail to do so, a default judgment will be entered against me or the entity I represent.

Date: \ \- \y E to2| ‘oe

Signature of the attorney or unrepresented party

 

Stacey Ann Arias Robert J. Davis

 

Printed name of party waiving service of summons Printed name

8131 LBJ Freeway, Suite 700
Dallas, Texas 75251 _
Address
bdavis@mssattorneys.com
E-mail address

(972) 234-3400 _

 

 

Telephone number

 

Duty to Avoid Unnecessary Expenses of Serving a Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

“Good cause” does nof include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service,

If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
Case 4:21-cv-00857-SDJ Document 5 Filed 11/23/21 Page 2 of 9 PagelD #: 40

AO 399 (01/09) Waiver of the Service of Summons

UNITED STATES DISTRICT COURT
for the
Eastern District of Texas [~]

BURNETT

 

Plaintiff
¥v.
COLLIN COMMUNITY COLLEGE DISTRICT, etal. _
Defendant

Civil Action No. 4:21-cv-00857

Nee ee el el et

WAIVER OF THE SERVICE OF SUMMONS

To: Greg Greubel a
(Name of the plaintiff's attorney or unrepresented plaintiff)

I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you,

I, or the entity | represent, agree to save the expense of serving a summons and complaint in this case,

I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that | waive any objections to the absence of a summons or of service.

I also understand that I, or the entity | represent, must file and serve an answer or a motion under Rule 12 within
60 days from 11/15/2021 , the date when this request was sent (or 90 days if it was sent outside the
United States). If 1 fail to do so, a default judgment will be entered against me or the entity I represent.

pae: WW+\$"7Z07) a

Signature of the attorney or unrepresented party

Dr. J. Robert Collins Robert J. Davis

 

Printed name of party waiving service of summons Printed name

8131 LBJ Freeway, Suite 700
Dallas, Texas 75251

 

Address

bdavis@mssattorneys.com
E-mail address

 

(972) 234-3400

Telephone number

 

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Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
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“Good cause” does vo? include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant's property.

If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
Case 4:21-cv-00857-SDJ Document 5 Filed 11/23/21 Page 3 of 9 PagelD #: 41

AO 399 (01/09) Waiver of the Service of Summons

UNITED STATES DISTRICT COURT

for the
Eastern District of Texas [=]

BURNETT
Plaintiff
Vv.
_ COLLIN COMMUNITY COLLEGE DISTRICT, et al.
Defendant

Civil Action No. 4:21-cv-00857

WAIVER OF THE SERVICE OF SUMMONS

To: Greg Greubel
(Name of the plaintiff's attorney or unrepresented plaintiff)

I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

1 understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

1 also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from 11/15/2021 , the date when this request was sent (or 90 days if it was sent outside the
United States). If 1 fail to do so, a default judgment will be entered against me or the entity I represent.

Date: LA 7 LG" zoz\ _—

Signature of the attorney or unrepresented party

 

Dr. Stacey Donald Robert J. Davis

Printed name of party waiving service of summons Printed name

8131 LBJ Freeway, Suite 700
Dallas, Texas 75251

Address

bdavis@mssattorneys.com =

E-mail address

(972) 234-3400

Telephone number

 

Duty to Avoid Unnecessary Expenses of Serving a Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

“Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
Case 4:21-cv-00857-SDJ Document 5 Filed 11/23/21 Page 4 of 9 PagelD #: 42

AQ 399 (01/09) Waiver of the Service of Summons

UNITED STATES DISTRICT COURT
for the
Eastern District of Texas [~]

BURNETT
Plaintiff
Vv

COLLIN COMMUNITY COLLEGE DISTRICT, et al.
Defendant

Civil Action No, 4:21-cv-00857

WAIVER OF THE SERVICE OF SUMMONS

To: Greg Greubel
(Name of the plaintiff's attorney or unrepresented plaintiff)

 

I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

I also understand that I, or the entity | represent, must file and serve an answer or a motion under Rule 12 within
60 days from 11/15/2021 _ , the date when this request was sent (or 90 days if it was sent outside the

United States). If I fail to do so, a default judgment will be entered against me or the entity | represent.

Date: \ \~ \% : 202\ a

Signature of the attorney or unrepresented party

 

—GregGomel : Robert J. Davis
Printed name of party waiving service of summons Printed name

8131 LBJ Freeway, Suite 700
Dallas, Texas 75251

 

Address

bdavis@mssattorneys.com
E-mail address

(972) 234-3400

Telephone number

 

Duty to Avoid Unnecessary Expenses of Serving a Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

“Good cause” does vor include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

Ifyou waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
Case 4:21-cv-00857-SDJ Document 5 Filed 11/23/21 Page 5 of 9 PagelD#: 43

AO 399 (01/09) Waiver of the Service of Summons

UNITED STATES DISTRICT COURT

for the
Eastern District of Texas [=]

BURNETT
Plaintiff
Vv,
COLLIN COMMUNITY COLLEGE DISTRICT, et al.
Dejendant

Civil Action No, 4:21-cv-00857

WAIVER OF THE SERVICE OF SUMMONS

To: Greg Greubel

(Name of the plaintiff's attorney or unrepresented plaintiff)

I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

I, or the entity | represent, agree to save the expense of serving a summons and complaint in this case.

I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

| also understand that I, or the entity | represent, must file and serve an answer or a motion under Rule 12 within
60 days from 11/15/2021 , the date when this request was sent (or 90 days if it was sent outside the

United States). If | fail to do so, a default judgment will be entered against me or the entity I represent.

pate: eG" 207 _ i,

Signature of the attorney or unrepresented party

Andrew Hardin __ =, Robert J. Davis an
Printed name of party waiving service of summons Printed name

8131 LBJ Freeway, Suite 700
Dallas, Texas 75251

Address

 

bdavis@mssattorneys.com
E-mail address

(972) 234-3400

Telephone munber

 

Duty to Avoid Unnecessary Expenses of Serving a Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

“Good cause” does vod include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant's property.

If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule [2 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
Case 4:21-cv-00857-SDJ Document 5 Filed 11/23/21 Page 6 of 9 PagelD#: 44

AO 399 (01/09) Waiver of the Service of Summons

 

UNITED STATES DISTRICT COURT

for the
Eastern District of Texas [=]

BURNETT
Plaintiff
Vv.
_ COLLIN COMMUNITY COLLEGE DISTRICT, et al.
Defendant

Civil Action No. 4:21-cv-00857

WAIVER OF THE SERVICE OF SUMMONS

To: Greg Greubel

(Name of the plaintiff's attorney or unrepresented plaintif)

I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

| also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from _ 11/15/2021 , the date when this request was sent (or 90 days if it was sent outside the
United States). If | fail to do so, a default judgment will be entered against me or the entity I represent.

Date: (As ne o2\ i

Signature of the attorney or unrepresented party

 

 

Dr. Raj Menon Robert J. Davis

 

 

Printed name of party waiving service of summons Printed name

8131 LBJ Freeway, Suite 700
Dallas, Texas 75251

Address

 

bdavis@mssattorneys.com
E-mail address

(972) 234-3400

Telephone number

 

 

Duty to Avoid Unnecessary Expenses of Serving a Summons

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and complaint, A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

“Good cause” does mot include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant's property.

If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service,

If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
Case 4:21-cv-00857-SDJ Document 5 Filed 11/23/21 Page 7 of 9 PagelD #: 45

AO 399 (01/09) Waiver of the Service of Summons

UNITED STATES DISTRICT COURT

for the
Eastern District of Texas [=]

BURNETT
Plaintiff
Vv.
COLLIN COMMUNITY COLLEGE DISTRICT, et al.
Defendant

Civil Action No, 4:21-cv-00857

 

WAIVER OF THE SERVICE OF SUMMONS

To; Greg Greubel
(Name of the plaintiff's attorney or unrepresented plaintiff)

 

I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

I, or the entity | represent, agree to save the expense of serving a summons and complaint in this case.

I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that | waive any objections to the absence of a summons or of service.

I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from 11/15/2021 , the date when this request was sent (or 90 days if it was sent outside the
United States). If | fail to do so, a default judgment will be entered against me or the entity | represent.

pate: | \- \'G" 707 VW < =

Signatiure of the attorney or unrepresented party

 

Fred Moses Robert J. Davis

Printed name of party waiving service of summons Printed name

8131 LBJ Freeway, Suite 700
Dallas, Texas 75251
Address

bdavis@mssattorneys.com
E-mail address

(972) 234-3400

Telephone number

 

 

Duty to Avoid Unnecessary Expenses of Serving a Summons

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no jurisdiction over this matter or over the defendant or the defendant’s property.

If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

Ifyou waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than ifa summons had been served.
Case 4:21-cv-00857-SDJ Document 5 Filed 11/23/21 Page 8 of 9 PagelD #: 46

AO 399 (01/09) Waiver of the Service of Summons

UNITED STATES DISTRICT COURT

for the
Eastern District of Texas [=]

 

 

_ BURNETT )
Plaintiff )

Vv. ) Civil Action No. 4:21-cv-00857
COLLIN COMMUNITY COLLEGE DISTRICT, et al. )
Defendant )

WAIVER OF THE SERVICE OF SUMMONS

To: Greg Greubel
(Name of the plaintiff's attorney or unrepresented plaintiff)

I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
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60 days from 11/15/2021 , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity [ represent.

Date: WH-\ o” 202 | —

Signature af the attorney or unrepresented party

 

Jim Orr Robert J. Davis
Printed name of party waiving service af summons Printed name

 

 

8131 LBJ Freeway, Suite 700
Dallas, Texas 75251 |
Address

 

bdavis@mssattorneys.com
E-mail address

(972) 234-3400

Telephone number

 

 

Duty to Avoid Unnecessary Expenses of Serving a Summons

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no jurisdiction over this matter or over the defendant or the defendant’s property.

If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court, By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
Case 4:21-cv-00857-SDJ Document 5 Filed 11/23/21 Page 9 of 9 PagelD #: 47

AO 399 (01/09) Waiver of the Service of Summons

 

UNITED STATES DISTRICT COURT

for the
Eastern District of Texas [=]

BURNETT
Plaintiff
v.
COLLIN COMMUNITY COLLEGE DISTRICT, et al.
Defendant

 

Civil Action No, 4:21-cv-00857

 

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WAIVER OF THE SERVICE OF SUMMONS

To: Greg Greubel

(Name of the plaintiff "s attorney or unrepresented plaintiff)

I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

1, or the entity | represent, agree to save the expense of serving a summons and complaint in this case.

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| also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from 11/15/2021 , the date when this request was sent (or 90 days if it was sent outside the
United States). If | fail to do so, a default judgment will be entered against me or the entity | represent.

Date: \V- a: 207 | eee i

Signature of the attorney or unrepresented party

 

Jay Saad Robert J. Davis

 

 

Printed name of party waiving service of summons Printed name

8131 LBJ Freeway, Suite 700
Dallas, Texas 75251

Address

 

bdavis@mssattorneys.com

 

E-mail address

(972) 234-3400

Telephone number

 

Duty to Avoid Unnecessary Expenses of Serving a Summons

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no jurisdiction over this matter or over the defendant or the defendant’s property.

If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

Ifyou waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
